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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                           Chapter 11

    FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

              Debtors.                                               (Jointly Administered)



    FTX TRADING LTD. and MACLAURIN
    INVESTMENTS LTD.,

                                          Plaintiffs,

                              -against-                              Adv. Pro. No. 23-50437 (JTD)
    LOREM IPSUM UG, PATRICK GRUHN,
    ROBIN MATZKE, and BRANDON
    WILLIAMS,

                                          Defendants.


                      CASE MANAGEMENT PLAN AND SCHEDULING ORDER

1.           This Case Management Plan and Scheduling Order (this “CMO”), by and among the
             above-captioned Plaintiffs and the Defendants (defined below, and with Plaintiffs,
             collectively “Parties” and each a “Party”), shall apply in the above-captioned adversary
             proceeding (“Action”). The following terms shall mean:

             a.       “Complaint” means the Complaint [Adv. Pro. No. 1] filed in the
                      Action on July 12, 2023;

             b.       “Defendants” means the defendants set out in the caption of the
                      Action;




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             The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288
             and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list
             of the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
             complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
             at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies
             Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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2.   Service. All Defendants have waived or accepted service of process, including waiver of
     service pursuant to the Hague Convention for applicable Defendants. Defendants shall
     have until October 27, 2023 to answer, move against, or otherwise respond to the
     Complaint. Except for defenses relating to service of process or sufficiency of process only,
     Defendants reserve all rights, claims, counterclaims, and defenses, including defenses
     relating to jurisdiction and the extraterritorial application of certain laws.

3.   Motions to Dismiss. The schedule for the briefing of any motions to dismiss shall be as
     follows:

     a.       Moving briefs due October 27, 2023;
     b.       Oppositions due December 1, 2023; and
     c.       Replies due January 5, 2024.

4.   Discovery. The following discovery and pretrial schedule shall apply absent further
     agreement of the Parties or order of the Bankruptcy Court.

     a.       Initial Disclosures. Each Party shall serve its initial disclosures required by
              Rule 26(a)(1) of the Federal Rules of Civil Procedure (“Rule”) as
              incorporated in this Action by Rule 7026 of the Federal Rules of Bankruptcy
              Procedure (“Bankruptcy Rule”) no later than September 27, 2023.

     b.       Fact Discovery.

            i.        The Parties may serve on non-parties to the Action subpoenas for
                      documents pursuant to Rule 45 (Bankruptcy Rule 9016) on or after
                      September 19, 2023. The Parties agree that the Party or attorney who
                      issues the non-party-subpoena shall, within three days of receipt of
                      materials from the non-party respondent, produce the materials it
                      received to all other Parties in the Action in the form in which the
                      materials were received by the Party.
          ii.         The Parties may serve on the other Parties in the Action document
                      requests pursuant to Rule 34 (Bankruptcy Rule 7034),
                      interrogatories pursuant to Rule 33 (Bankruptcy Rule 7033),
                      requests for admissions pursuant to Rule 36 (Bankruptcy
                      Rule 7036), and other requests for written discovery on or after
                      October 13, 2023.
          iii.        The Parties will substantially complete their production of
                      documents in response to the first set of document requests served
                      by each Party on or before January 31, 2024 (it being understood
                      that Parties will produce responsive materials on a rolling basis in
                      advance of such date). The schedule for production of documents in
                      response to all later-served document requests shall be as provided
                      for in the Bankruptcy Rules.




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          iv.          The parties will provide logs of documents withheld or redacted on
                       privilege grounds by February 16, 2024.
           v.          Deposition notices will be served no less than 14 calendar days prior
                       to the requested deposition date.
          vi.          Fact discovery will be completed by May 17, 2024.

     c.         Expert Discovery.

            i.         One or more Parties presently anticipate that they may offer expert
                       testimony on value and valuation, foreign law, European regulatory
                       schemes, market conditions, and solvency and insolvency. Each
                       Party will disclose the topics for any additional expert testimony no
                       later than May 17, 2024. If a Party fails to timely identify an
                       additional topic for expert testimony, the other Parties will have an
                       additional 14 calendar days added to the deadline for their response,
                       and the deadline for any reply or other responsive report or pleading
                       correspondingly will also be extended by 14 calendar days.
          ii.          Plaintiffs’ initial expert reports will be served by June 5, 2024.
          iii.         Defendants’ expert reports—including rebuttal reports in response
                       to Plaintiffs’ initial expert reports and expert reports on a subject not
                       addressed in Plaintiffs’ initial expert reports—will be served by
                       July 19, 2024.
          iv.          In the event that Defendants’ expert reports address a subject not
                       addressed in Plaintiffs’ initial expert reports, Plaintiffs may serve a
                       rebuttal expert report in response thereto by August 23, 2024.
           v.          All expert reports must satisfy the requirements of Bankruptcy Rule
                       7026.
          vi.          Expert depositions will be completed by October 2, 2024.

5.   Summary Judgment Motions.

     a.         In the event that any Party chooses to file a motion for summary judgment,
                such motion will be filed no later than October 16, 2024;
     b.         Oppositions to motions for summary judgment will be due no later than 28
                calendar days from the filing of the opening motion for summary
                judgement; and
     c.         Replies in support of summary judgment will be due no later than 28
                calendar days from the filing of the opposition to the motion for summary
                judgement.

     d.         Notwithstanding anything in Section 5 of this CMO, in the event that any
                Defendant chooses to file a motion for summary judgment as its response




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            to the Complaint in this Action, the briefing schedule for such motion shall
            be as provided for in Section 3 above.

6.   Mediation. The Parties will meet and confer regarding appointment of a mediator. On or
     before January 24, 2024, the Parties shall file a stipulation regarding appointment of
     mediator. If the Parties fail to file a stipulation on this matter by January 24, 2024, the
     Parties will request a status conference with the Bankruptcy Court to resolve the dispute
     concerning the appointment of a mediator. Should the Parties agree on a mediator or the
     Bankruptcy Court orders a mediator, the Parties then will meet and confer concerning
     procedures for the mediation. Unless otherwise agreed by the Parties, the mediation shall
     be governed by Local Rule 9019-5. Local Rule 9019-5(j) will not apply to the mediation
     in the Action.

7.   Jurisdiction. Nothing in this CMO shall be deemed a waiver of any Defendant’s rights
     under Local Rule 9013-1(f) or other jurisdictional objections or objections to the
     extraterritorial application of certain law.

8.   Modification. The Parties may modify any provision of this CMO by written agreement
     or, absent such agreement, by seeking an order of the Bankruptcy Court upon good cause
     shown.




     Dated: August 23rd, 2023                           JOHN T. DORSEY
     Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE




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